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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 MOHAMMED NAZIR BIN LEP,

         Petitioner,

                v.                                            Civil Action No. 20-3344 (JDB)
 JOSEPH R. BIDEN et al.,

         Respondents.



                        THIRD AMENDED SCHEDULING ORDER
       Upon consideration of [115] petitioner’s consent motion to revise the scheduling order, and

the entire record herein, it is hereby ORDERED that the following schedule shall govern future

proceedings:

       1. Petitioner shall file his reply in further support of [107] his discovery motion and his

          response to [113] respondents’ sealed motion by not later than July 1, 2022.

       2. Respondents shall file their reply in further support of their sealed motion by not later

          than July 29, 2022.

       SO ORDERED.



                                                                               /s/
                                                                        JOHN D. BATES
                                                                   United States District Judge



Dated: June 3, 2022
